Information to identify the case:
Debtor 1              Janice C. Swain                                               Social Security number or ITIN   xxx−xx−5960

                      First Name   Middle Name   Last Name                          EIN   _ _−_ _ _ _ _ _ _

Debtor 2                                                                            Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                    EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Middle District of Alabama

Case number: 17−32464




Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

                                    Janice C. Swain
                                    aka Janice Cunningham Swain




Dated September 14, 2021




                                                                           William R. Sawyer
                                                                           United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                    liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                    In a case involving community property: Special rules
attempt to collect a discharged debt from the                                protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                            spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                  case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                            Some debts are not discharged
debtors by mail, phone, or otherwise in any                                  Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                       ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                       ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                 ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                           U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                      523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                       the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                          For more information, see page 2



Form 3180W                                                   Chapter 13 Discharge                                      page 1




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    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                              page 2




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                                                              United States Bankruptcy Court
                                                               Middle District of Alabama
In re:                                                                                                                 Case No. 17-32464-WRS
Janice C. Swain                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1127-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Sep 14, 2021                                               Form ID: 3180W                                                            Total Noticed: 32
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 16, 2021:
Recip ID                 Recipient Name and Address
db                    #+ Janice C. Swain, 6505 W. Cypress Court, Montgomery, AL 36117-4461
aty                    + Michael Brock, Brock & Stout, LLC, P.O. Drawer 311167, Enterprise, AL 36331-1167
4526921                  Afni, Inc., c/o Becket and Lee LLP, PO Box 3002, Malvern PA 19355-0702
3833187                + Credit Bureau Coll Dept, P.O. Box 230609, Montgomery, AL 36123-0609
3833188                + Direc Management, Inc., 4320 Downtowner Loop S Ste A, Mobile, AL 36609-5447

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: trustees_office@ch13mdal.com
                                                                                        Sep 14 2021 20:27:00      Sabrina L. McKinney, P.O. Box 173,
                                                                                                                  Montgomery, AL 36101-0173
cr                        Email/Text: rgriffith@servsol.com
                                                                                        Sep 14 2021 20:27:00      Alabama Housing Finance Authority, P.O. Box
                                                                                                                  242928, Montgomery, AL 36124-2928
cr                     + EDI: PRA.COM
                                                                                        Sep 15 2021 00:23:00      PRA Receivables Management, LLC, PO Box
                                                                                                                  41067, Norfolk, VA 23541-1067
3833181                + EDI: AMSHER.COM
                                                                                        Sep 15 2021 00:23:00      Amsher Collection Services Inc, Attn: Bankruptcy,
                                                                                                                  4524 Southlake Pkwy Ste 15, Birmingham, AL
                                                                                                                  35244-3271
3833182                + EDI: TSYS2.COM
                                                                                        Sep 15 2021 00:23:00      Barclays Bank Delaware, 125 S West St,
                                                                                                                  Wilmington, DE 19801-5014
3833183                + EDI: RMSC.COM
                                                                                        Sep 15 2021 00:23:00      Belk Synchrony Bank, PO Box 965036, Orlando,
                                                                                                                  FL 32896-5036
3833184                   EDI: WFNNB.COM
                                                                                        Sep 15 2021 00:23:00      Burkes Outlet, P.O. Box 182789, Columbus, OH
                                                                                                                  43218-2789
3833185                   EDI: CAPITALONE.COM
                                                                                        Sep 15 2021 00:23:00      Capital One, PO Box 30281, Salt Lake City, UT
                                                                                                                  84130-0281
3833186                   EDI: RMSC.COM
                                                                                        Sep 15 2021 00:23:00      Care Credit, P.O. Box 965036, Orlando, FL
                                                                                                                  32896-5036
3833189                   EDI: IRS.COM
                                                                                        Sep 15 2021 00:23:00      Internal Revenue Service-Middle District, PO Box
                                                                                                                  7346, Philadelphia, PA 19101-7346
3833190                   EDI: RMSC.COM
                                                                                        Sep 15 2021 00:23:00      JC Penney's, P.O. Box 965007, Orlando, FL
                                                                                                                  32896-5007
3833197                   Email/Text: HOME.SFBANK-BCCBKNOTICE@fisglobal.com
                                                                         Sep 14 2021 20:26:00                     State Farm Bank, 310 Price Place, Madison, WI
                                                                                                                  53705
3842401                   Email/Text: HOME.SFBANK-BCCBKNOTICE@fisglobal.com
                                                                         Sep 14 2021 20:26:00                     State Farm Bank, FSB, Attn: Bankruptcy Dept.,
                                                                                                                  PO Box 2328, Bloomington, IL 61702-2328



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District/off: 1127-2                                               User: admin                                                            Page 2 of 3
Date Rcvd: Sep 14, 2021                                            Form ID: 3180W                                                       Total Noticed: 32
3911135                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Sep 14 2021 20:40:37     LVNV Funding, LLC its successors and assigns
                                                                                                            as, assignee of LC Trust I, Resurgent Capital
                                                                                                            Services, PO Box 10587, Greenville, SC
                                                                                                            29603-0587
3833191               + EDI: LENDNGCLUB
                                                                                   Sep 15 2021 00:23:00     Lending Club Corp, 21 Stevenson St Ste 300, San
                                                                                                            Francisco, CA 94105-2706
3833192                  EDI: RMSC.COM
                                                                                   Sep 15 2021 00:23:00     Lowe's, P.O. Box 965005, Orlando, FL
                                                                                                            32896-5005
3911014                  Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Sep 14 2021 20:24:55     MERRICK BANK, Resurgent Capital Services,
                                                                                                            PO Box 10368, Greenville, SC 29603-0368
3833193               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Sep 14 2021 20:24:55     Merrick Bank, PO Box 1500, Draper, UT
                                                                                                            84020-1127
3861672                  EDI: AGFINANCE.COM
                                                                                   Sep 15 2021 00:23:00     OneMain, PO Box 3251, Evansville, IN
                                                                                                            47731-3251
3833194                  EDI: AGFINANCE.COM
                                                                                   Sep 15 2021 00:23:00     OneMain Financial, PO Box 1010, Evansville, IN
                                                                                                            47706-1010
3960536                  EDI: PRA.COM
                                                                                   Sep 15 2021 00:23:00     Portfolio Recovery Associates, LLC, PO Box
                                                                                                            41067, Norfolk, VA 23541
3878550                  EDI: PRA.COM
                                                                                   Sep 15 2021 00:23:00     Portfolio Recovery Associates, LLC, POB 12914,
                                                                                                            Norfolk VA 23541
3913707                  EDI: Q3G.COM
                                                                                   Sep 15 2021 00:23:00     Quantum3 Group LLC as agent for, MOMA
                                                                                                            Funding LLC, PO Box 788, Kirkland, WA
                                                                                                            98083-0788
3833195                  Email/Text: bankruptcy@regionalmanagement.com
                                                                                   Sep 14 2021 20:26:00     Regional Finance #814, 6144 Atlanta Highway,
                                                                                                            Montgomery, AL 36117-2800
3833196               + Email/Text: rgriffith@servsol.com
                                                                                   Sep 14 2021 20:27:00     ServiSolutions, 7460 Halcyon Pointe Drive, Suite
                                                                                                            200, Montgomery, AL 36117-8105
3833198                  Email/Text: Stacey.VanAlst@usdoj.gov
                                                                                   Sep 14 2021 20:26:00     US Attorney's Office - Middle District, PO Box
                                                                                                            197, Montgomery, AL 36101-0197
3833199                  EDI: RMSC.COM
                                                                                   Sep 15 2021 00:23:00     Wal-Mart, PO Box 965024, Orlando, FL
                                                                                                            32896-5024

TOTAL: 27


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
3848817                       REGIONAL MANAGEMENT COPORATION, 979 BATESVILLE RD, SUITE B, GREER SC 296
cr              *             Afni, Inc., c/o Becket and Lee LLP, PO Box 3002, Malvern, PA 19355-0702
3878551         *P++          PORTFOLIO RECOVERY ASSOCIATES LLC, PO BOX 41067, NORFOLK VA 23541-1067, address filed with court:,
                              Portfolio Recovery Associates, LLC, POB 12914, Norfolk VA 23541

TOTAL: 1 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.


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District/off: 1127-2                                             User: admin                                                            Page 3 of 3
Date Rcvd: Sep 14, 2021                                          Form ID: 3180W                                                       Total Noticed: 32

Date: Sep 16, 2021                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 14, 2021 at the address(es) listed
below:
Name                            Email Address
Bankruptcy Administrator
                                ba@almb.uscourts.gov

Michael Brock
                                on behalf of Debtor Janice C. Swain bankruptcy@brockandstoutlaw.com
                                bankruptcy@managelawfirm.com;bkbackup@managelawfirm.com

Sabrina L. McKinney
                                trustees_office@ch13mdal.com


TOTAL: 3




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                                                   Certificate of Notice Page 5 of 5
